       Case 2:12-cr-00138-SSV-JVM Document 118 Filed 02/07/14 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                             *             CRIMINAL DOCKET
                                                     *
VERSUS                                               *             NO. 12-138
                                                     *
GIE PRESTON                                          *             SECTION: "K"

                      ******************************

                MOTION TO SUPPRESS EVIDENCE AND STATEMENTS

       NOW INTO COURT comes Gie Preston, appearing herein through undersigned counsel,

who respectfully requests that this Honorable Court suppress (1) evidence obtained following

illegal arrests and searches and (2) statements which are both fruits of those illegal arrests and

which were taken in violation of Mr. Preston’s Fifth and Sixth Amendment rights to counsel,

based on the reasons and authority set forth in the attached memorandum. In the event that the

Court determines that suppression is not justified based on the showing in this motion and

supporting memorandum, Mr. Preston moves this Court to order an evidentiary hearing

regarding the circumstances of the arrests, searches, and statements, wherein he can demonstrate

and establish to the Court the allegations made herein.

                                                     Respectfully submitted,


                                                     /s/ William Sothern
                                                     WILLIAM SOTHERN, La. Bar 27884
                                                     Law Office of William M. Sothern
                                                     3015 Magazine Street
                                                     New Orleans, LA 70115
                                                     (504) 581-9083
                                                     billys@thejusticecenter.org

                                                     Attorney for Gie Preston



                                                1
	  
       Case 2:12-cr-00138-SSV-JVM Document 118 Filed 02/07/14 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       This certifies that I electronically filed the foregoing pleading with the Clerk of Court by

using the CM/ECF system that will send a notice of electronic filing to all counsel of record on

the 7th day of February, 2014.

                                                     /s/ William Sothern
                                                     WILLIAM SOTHERN, La. Bar 27884




                                                2
	  
